                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION
Nancy Lea Goens and Timothy                         )
Allen Goens,                                        )
                                     Plaintiffs,    )
vs.                                                 ) No. 09-0422-CV-W-FJG
Southern Union Company d/b/a                        )
Missouri Gas Energy,                                )
                                     Defendant.     )

                                           ORDER
       Pending before the Court is Defendant Southern Union Company d/b/a Missouri Gas
Energy’s (hereafter, “MGE”) Motion for Summary Judgment (Doc. No. 57).
I.     Background
       This case arises out of a fire that occurred in plaintiffs’ home on April 27, 2004.
Plaintiffs allege that the fire occurred due to the negligence of an MGE gas service
technician who relit the pilot light of the water heater in the basement of plaintiffs’ residence
on April 14, 2004. Plaintiffs allege the MGE technician negligently failed to place the
combustion access cover back on the water heater after relighting the pilot light. They
further allege that a flame roll-out occurred within the water heater on April 27, 2004,
igniting nearby combustible materials and causing extensive damage to the plaintiffs’
residence. Plaintiffs further allege that the MGE gas service technician failed to remove
combustibles that were near the water heater and/or failed to advise plaintiffs that storing
combustible materials such as boxes, etc., near the water heater presented a dangerous
condition and fire hazard.
       Defendant argues that summary judgment is proper because: (1) plaintiffs’ claims
are barred by the applicable tariff, which has the force and effect of law; (2) plaintiffs cannot
demonstrate causation; (3) plaintiffs were aware of the dangers associated with stacking
combustibles near a water heater and thus MGE had no duty to warn; and (4) plaintiffs’
experts’ opinions are inadmissible, and without their testimony, plaintiffs cannot create a




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genuine issue of material fact regarding the cause of the fire.1
II.    Facts
       At all relevant times, Plaintiffs Nancy Goens and Timothy Goens (hereinafter
collectively referred to as “Plaintiffs”), resided at the property located at 717 Sunset Drive,
Independence, Missouri 64050 (the “Goens Home”).2 MGE is a “Gas Corporation” as that
term is defined in R.S. Mo. § 386.020(18) and is governed by the Missouri Public Service
Commission pursuant to R.S. Mo. § 386.040, et seq. At all relevant times, MGE provided
natural gas service to the Goens Home.
       Section 4.01 of the applicable MGE tariff (the “MGE Tariff”), filed with and approved
by the Missouri Public Service Commission (“MPSC”), provides:
       Any and all piping, appliances, equipment or facilities (except meters,
       regulators, or related equipment owned by Company and located on
       customer’s premises) required to utilize gas service beyond the point of
       delivery shall be furnished, installed and maintained in a safe, efficient, and
       proper operating condition at the expense of customer and shall be the sole
       responsibility of customer, except that customer-owned service lines and
       yard lines will be maintained as provided for in Section 3.15.
See MGE Affidavit, ¶ 6, attached as Exhibit A to Doc. No. 58. The water heater at issue
in this case is located beyond the point of delivery, on the Plaintiffs’ side of the meter.
       Section 3.19 of the MGE Tariff, provides:
       Customer shall save Company harmless from all claims for trespass, injuries
       to persons, or damage to lawns, trees, shrubs, buildings or other property
       that may be caused by reason of the installation, operation, or replacement
       of the service line, yard line and other necessary appurtenances to serve
       customer unless it shall affirmatively appear that the injury to persons or
       damage to property complained of has been caused by willful default or
       negligence on the part of Company or its accredited personnel.

       Company may refuse or discontinue service if an inspection of test reveals


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         After this motion was filed, this Court denied defendant’s motion to strike
plaintiffs’ experts. See Order, Doc. No. 126. Accordingly, this ground for relief raised in
defendant’s motion for summary judgment will be DENIED.
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       At the time of the fire, Nancy Goens’ daughter, Sherry Hercules, also resided at
the Goens Home.

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       leakage, escape or loss of gas on customer’s premises. Company will not
       be liable for any loss, damage or injury whatsoever caused by such leakage,
       escape or loss of gas from the customer’s service line, yard line, ancillary
       lines, house piping, appliances or other equipment.

       On April 14, 2004, MGE terminated the natural gas service to the Goens Home due
to failure to pay. On the same day that natural gas service to the Goens Home was
terminated, Plaintiffs appealed to MGE to restore service because Nancy purportedly had
recently been released from the hospital. Although Plaintiffs had not made payment on the
account, MGE agreed to restore service to the Goens Home due to hardship; MGE service
technician, Eric Miller (“Miller”), returned to the house to initiate natural gas service. While
he was at the Goens Home, Miller replaced an obsolete regulator, performed the standard
turn on procedure, and re-lit the pilot lights of the natural gas appliances in the home,
including the water heater, which was located in the basement of the home. Plaintiffs,
however, allege that Mr. Miller did not reinstall the outer combustion access cover on the
water heater after he relit it. On April 27, 2004, thirteen days after natural gas was restored
to the Goens Home, a fire occurred in the basement of the home.
       On April 23, 2009, Plaintiffs filed suit against MGE in connection with the April 27,
2004 fire alleging that MGE’s gas service representative “negligently, carelessly and
improperly created a fire hazard by failing to place both the inner and outer combustion
access covers back on the water heater after the pilot light was ignited.” See Doc. No. 1.
Plaintiffs further allege that MGE’s gas service representative “negligently, carelessly and
improperly failed to remove any combustibles that were near the water heater combustion
access area.”     Id.   Plaintiffs further allege that MGE’s gas service representative
“negligently, carelessly, and improperly failed to warn or otherwise advise the Plaintiffs that
the presence of any potentially combustible materials near the water heater combustion
access areas presented a dangerous condition and a fire hazard.” Id. Plaintiffs contend
that, as a result of MGE’s gas service representative’s alleged negligence, the water heater
in the basement of the Goens Home exhibited a flame roll out condition and the flames
ignited nearby combustible materials and caused extensive damage to the Goens Home.

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Plaintiffs’ have not alleged that MGE installed, manufactured, or supplied the water heater
in the basement of the Goens Home.
       Defendant states that “[t]he only evidence Plaintiffs have in support of their
contention that MGE’s gas service representative negligently, carelessly and improperly
created a fire hazard by failing to place both the inner and outer combustion access covers
back on the water heater after the pilot light was ignited is: (a) Plaintiffs’ own contention that
they never lit the pilot light themselves; (b) Plaintiffs’ own contention that MGE’s
representative was the last person to light the pilot light on April 14, 2004 and the last
person in the basement prior to the fire; and (c) burn patterns on the hot water heater’s
outer combustion access cover.” Plaintiffs respond that this is a mischaracterization of the
evidence.
       Defendants further state, “The only evidence Plaintiffs have in support of their
contention that MGE’s gas service representative negligently, carelessly and improperly
failed to remove any combustibles that were near the water heater combustion access area
is: (a) Plaintiffs’ own contention that they never lit the pilot light themselves; (b) Plaintiffs’
own contention they did not place any items near the water heater after the MGE
representative lit the pilot light on April 14, 2004; (c) that the MGE representative allegedly
did not tell Plaintiffs to move any materials in the basement; (d) burn patterns on the hot
water heater’s outer combustion access cover; and (e) expert testimony and opinions
regarding flame roll-out that allegedly caused the fire by igniting combustibles near the
water heater combustion access area.” Again, plaintiffs call this a mischaracterization of
the evidence.
       Over the course of her life, Nancy Goens has been exposed to water heaters. Ms.
Goens understood in April of 2004 that it was Plaintiffs’ obligation, as the owners of the water
heater at the Goens Home, to maintain the water heater, ensure the safe operation of the water
heater, and maintain the area in the vicinity of the water heater. Ms. Goens was aware in 2004
that water heaters have flame burners. Ms. Goens was aware prior to the fire in April of 2004
that combustibles should not be stacked around a water heater because a fire may result. See

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Exhibit B to Doc. No. 58, N. Goens Dep., 34:24–35:11. However, plaintiffs note that Nancy
Goens had not been in the Goens’ basement for several years prior to the fire. See Ex. 6 to
Doc. No. 79, 73:9 - 74:13. Ms. Goens testified she expected that her husband, Timothy Goens,
was also aware prior to the fire in April of 2004 that combustibles should not be stacked around
a water heater because a fire may result; however, as noted by plaintiffs, the cited testimony
calls for speculation as to what Mr. Goens actually knew or did not know prior to the fire.
Defendants further indicate that Sherry Hercules was aware prior to the fire in April of 2004 that
combustibles should not be stacked around a water heater because a fire may result; however,
again, they support this statement in their suggestions in support of the motion for summary
judgment by citing to Nancy Goens’ testimony, not Sherry Hercules’ testimony.3

III.   Standard
       Summary judgment is appropriate if the movant demonstrates that there is no
genuine issue of material fact and that the movant is entitled to judgment as a matter of
law. Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986). The facts and inferences are
viewed in the light most favorable to the nonmoving party.              Fed. R. Civ. P. 56(c);
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-590 (1986). The
moving party must carry the burden of establishing both the absence of a genuine issue



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         In its reply suggestions, defendant cites to Ms. Hercules’ deposition for the
proposition that she was aware in April 2004 that combustibles should not be stacked
around a water heater because a fire may result. However, the deposition testimony
does not exactly support the proposition asserted. Instead, Ms. Hercules agreed that
she would “know enough not to put combustibles up against a water heater for fear they
would catch fire.” See Ex. F to Doc. No. 90, pp. 38:11-39:5. As the Court understands
plaintiffs’ theory of this case, plaintiffs are alleging that the flame roll-out condition
caused combustibles that were stacked near the water heater (not against the water
heater) to catch on fire. Defendant further cites in its reply brief to warnings contained
in the Owners’ Manual for the Goens water heater. The Court will not consider new
evidence introduced in the reply brief, as plaintiffs have not had a chance to respond to
that evidence. See Sowers v. Gatehouse Media Missouri Holdings, Inc. 2010 WL
1633389, *2 (E.D. Mo. 2010)(citing Beaird v. Seagate Tech., Inc., 145 F.3d 1159, 1164-
65 (10th Cir. 1998). Therefore, the Court will not consider the evidence related to the
Owners’ Manual or Ms. Hercules’ deposition in evaluating defendant’s summary
judgment motion.

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of material fact and that such party is entitled to judgment as a matter of law. Matsushita,
475 U.S. at 586-90.
       Once the moving party has met this burden, the nonmoving party may not rest on
the allegations in the pleadings, but by affidavit or other evidence, must set forth facts
showing that a genuine issue of material fact exists. Fed. R. Civ. P. 56(e); Lower Brule
Sioux Tribe v. South Dakota, 104 F.3d 1017, 1021 (8th Cir. 1997). To determine whether
the disputed facts are material, courts analyze the evidence in the context of the legal
issues involved. Lower Brule, 104 F.3d at 1021. Thus, the mere existence of factual
disputes between the parties is insufficient to avoid summary judgment. Id. Rather, “the
disputes must be outcome determinative under prevailing law.” Id. (citations omitted).
       Furthermore, to establish that a factual dispute is genuine and sufficient to warrant
trial, the party opposing summary judgment “must do more than simply show that there is
some metaphysical doubt as to the facts.” Matsushita, 475 U.S. at 586. Demanding more
than a metaphysical doubt respects the appropriate role of the summary judgment
procedure: “Summary judgment procedure is properly regarded not as a disfavored
procedural shortcut, but rather as an integral part of the Federal Rules as a whole, which
are designed to secure the just, speedy, and inexpensive determination of every action.”
Celotex, 477 U.S. at 327.
IV.    Analysis
       A.     Plaintiffs’ Negligence Claims related to Failure to Replace the Water
              Heater’s Combustion Access Covers and Failure to Remove
              Combustibles near the Water Heater

              1.      MGE’s Tariff
       Defendant argues that MGE’s tariff, which is filed with and approved by the state
regulatory agency, precludes plaintiffs’ negligence claims. Defendant notes that, as a
distributor of natural gas in Missouri, MGE operates under the supervision of the MPSC.
See, e.g., R.S.Mo. § 393.140; see also R.S.Mo. § 386.010, et seq. MGE has filed its tariff
with the approval of the MPSC. Defendant notes that the “filed rate doctrine” applies where


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a regulatory agency like the MPSC determines the rates, terms and conditions of service,
and duties a regulated entity owes to its customers. Bauer v. Sw. Bell Tel. Co., 958 S.W.2d
568, 570 (Mo. App. E.D. 1998) (finding that a tariff filed with and approved by an
administrative agency under the regulatory scheme governs the utility’s relationship with
its customers and has the force and effect of law (citing Sw. Bell Tel. Co. v. Metro-Link
Telecom, Inc., 919 S.W.2d 687 (Tex. App. 1996))). Furthermore, it is presumed that the
customers of a utility know the contents and effects of published tariffs, and ignorance of
the terms of a filed tariff does not affect the binding nature of its terms. Bauer, 958 S.W.2d
at 570. However, statutes are strictly construed when existing common law rights are
affected, and if a close question exists, Missouri courts weigh in favor of retaining the
common law. See Estate of Charles Parker v. Parker and Leffler, 25 S.W. 3d 611 (Mo. Ct.
App. 2000).
       Defendant states that plaintiffs’ negligence claims are precluded by the tariff.
Section 4.01 of the MGE Tariff provides:
       Any and all piping, appliances, equipment or facilities (except meters,
       regulators, or related equipment owned by Company and located on
       customer’s premises) required to utilize gas service beyond the point of
       delivery shall be furnished, installed and maintained in a safe, efficient, and
       proper operating condition at the expense of customer and shall be the sole
       responsibility of customer, except that customer-owned service lines and
       yard lines will be maintained as provided for in Section 3.15.
Additionally, defendant notes that the second paragraph of Section 3.19 of the MGE Tariff
provides:
       Company may refuse or discontinue service if an inspection of test reveals
       leakage, escape or loss of gas on customer’s premises. Company will not
       be liable for any loss, damage or injury whatsoever caused by such leakage,
       escape or loss of gas from the customer’s service line, yard line, ancillary
       lines, house piping, appliances or other equipment.

Defendant states that plaintiffs’ claims that MGE “negligently, carelessly and improperly
created a fire hazard by failing to place both the inner and outer combustion access covers
back on the water heater after the pilot light was ignited” and that MGE “negligently,


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carelessly and improperly failed to remove any combustibles that were near the water
heater combustion access area” are barred, as the water heater was located inside
plaintiffs’ home, and thus defendant cannot be liable for negligence.
       In response, plaintiffs note that MGE omits part of Section 3.19 of its tariff in its
discussion of this issue. The omitted part of Section 3.19 indicates:
       Customer shall save Company harmless from all claims for trespass, injuries
       to persons, or damage to lawns, trees, shrubs, buildings or other property
       that may be caused by reason of the installation, operation, or replacement
       of the service line, yard line and other necessary appurtenances to serve
       customer unless it shall affirmatively appear that the injury to persons or
       damage to property complained of has been caused by willful default or
       negligence on the part of Company or its accredited personnel.
Section 3.19 (emphasis added). Plaintiff argues that any exculpatory language in the tariff
should be strictly construed against the utility company and in favor of the customer. See
e.g., Adams v. Northern Illinois Gas Co., 809 N.E. 2d 1248, 1268 (Ill. 2004) (finding that
language in a tariff stating a customer was responsible for maintaining all gas utilization on
the customer’s premises did not abrogate the gas company’s common law duty to warn of
a gas leak in a customer’s gas appliance). Plaintiff further argues that nothing in Section
4.01 of the tariff relieves MGE of its common law duty of exercising reasonable care in the
provision of its services. Here, plaintiffs note that the tariff is silent as to whether MGE can be
found liable when its employees affirmatively perform work or services on facilities and
equipment that are beyond the point of gas delivery. Plaintiffs also indicate that the first

paragraph of 3.19 could be read so that defendant could be held liable for its own
negligence as alleged in plaintiffs’ complaint.
       After reviewing the parties’ briefs and the case law surrounding the filed rate
doctrine, the Court finds that summary judgment should be DENIED as to this issue. As
an initial matter, the Court agrees with plaintiff that the actions alleged in the complaint (the
failure of the MGE employee to properly reinstall the access covers on the water heater
and failure to remove combustibles near the water heater combustion access area) appear
to be affirmative acts conducted by the MGE employee beyond the point of gas delivery,


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and common law tort claims for this sort of negligence do not appear to be precluded by
Section 4.01 of the tariff.4      Additionally, the Court finds that defendant has not
demonstrated that Section 3.19 operates to preclude plaintiffs’ negligence claims.
Accordingly, defendant’s motion for summary judgment based on the filed rate doctrine will
be DENIED.

                2.    Credibility of Plaintiffs’ Causation Evidence
       Defendant indicates that plaintiffs’ evidence of causation is not credible and that
plaintiffs’ claims therefore should be dismissed. Viewing the facts in the light most
favorable to plaintiffs, as the Court must, the Court cannot find that plaintiffs will be unable
to demonstrate causation at trial. In particular, the Court has not stricken plaintiffs’ experts’
testimony, which provides support for plaintiffs’ contention that the MGE service technician
did not replace the water heater’s combustion access covers.              Further, defendant’s
evidence that plaintiffs and their daughter may have been in the basement of the home
sometime between the relighting of the pilot light and the fire does not make plaintiffs’
contentions regarding the MGE service technician any less credible. Defendant’s motion
will be DENIED on this point.




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         The Court finds persuasive the analysis in Adams v. Northern Illinois Gas Co.,
809 N.E. 2d 1248, 1266 (Ill. 2004), where the court found that where a utility tariff
speaks to a specific duty, the tariff may be controlling, but where the tariff does not
address a particular situation, the common law applies. See also AT&T v. Central
Office Telephone, 524 U.S. 214, 230-31 (1998)(J. Rehnquist, concurring)(noting that the
tariff “does not govern the entirety of the relationship between the common carrier and
its customers . . . [t]he filed rate doctrine’s purpose is to ensure that the filed rates are
the exclusive source of the terms and conditions by which the common carrier provides
to its customers the services covered by the tariff. It does not serve as a shield against
all actions based in state law”).

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       B.     Plaintiffs’ Claims for Negligent Failure to Warn of the Dangers
              Associated with Placing Combustible Materials Near the Water Heater
       Defendant indicates that it is entitled to summary judgment on Plaintiffs’ negligent
failure to warn claim because there is a complete absence of evidence from which a
reasonable jury could conclude that MGE’s alleged failure to warn was the cause of the
April 27, 2004, fire at the Goens Home. To prevail on a claim of negligence, the plaintiffs
must prove three elements: (1) that the defendant has a duty to protect the plaintiffs from
injury; (2) that defendant breached that duty; and (3) that the defendant’s breach resulted
in injury to plaintiffs. Smith v. Brown & Williamson Tobacco Corp., 275 S.W.3d 748, 784
(Mo. App. W.D. 2008) (citing Hill v. Gen. Motors Corp., 637 S.W.2d 382, 384 (Mo. App.
E.D.1982)). Evidence that the plaintiffs knew of the specific danger that caused the injury
obviates the duty to warn. Cole v. Goodyear Tire & Rubber Co., 967 S.W.2d 176, 185 (Mo.
App. E.D. 1998); Duke v. Gulf & W. Mfg. Co., 660 S.W.2d 404, 418 (Mo. App. W.D. 1983).
       Here, defendant argues that Nancy Goens, Timothy Goens, and Sherry Hercules
were all aware prior to the fire in April 2004 that it was their obligation to maintain the area
in the vicinity of the water heater, and they knew that combustibles should not be stacked
around a water heater because fire may result.               However, defendant has only
demonstrated, for purposes of this summary judgment motion, that Nancy Goens was
aware that combustibles should not be stacked around a water heater; defendant’s
evidence as to Timothy Goens and Sherry Hercules does not establish that they knew of
such a risk, and so the Court cannot find that MGE had no duty to warn Plaintiffs of the
danger. The Court further agrees with plaintiffs that Nancy Goens’ testimony does not
establish that she was aware of the specific risk of a flame roll-out condition. Further,
plaintiffs note that Ms. Goens has physical limitations and had not been in the basement
of her home for several years prior to the fire; plaintiffs argue that Ms. Goens was not in a
position to know that household items were being stored near the water heater. Therefore,
the Court agrees with plaintiffs that questions of material fact exist as to whether



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defendant’s failure to red tag the water heater or otherwise advise the residents that
nothing should be stored near a water heater was causative of the fire. Defendant’s motion
for summary judgment as to this issue will be DENIED.

V.    Conclusion
      For all the foregoing reasons, defendant’s motion for summary judgment (Doc. No.
57) is DENIED.

      IT IS SO ORDERED.
                                                /s/Fernando J. Gaitan, Jr.
                                                Fernando J. Gaitan, Jr.
                                                Chief United States District Judge
Dated: 07/14/10
Kansas City, Missouri




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